                    Case 1:19-cr-00117-RJJ ECF No. 75 filed 11/12/19 PageID.641 Page 1 of 1

                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       LARRY CHARLES INMAN                                                           DISTRICT JUDGE:      Robert J. Jonker

    CASE NUMBER                       DATE                 TIME (begin/end)                PLACE                 INTERPRETER
      1:19-cr-117                    11/12/19           2:58 - 4:21 p.m.             Grand Rapids




                                                               APPEARANCES
Government:                                               Defendant:                                       Counsel Designation:
Chris O'Connor / Ron Stella                               Christopher Cooke                                Retained

             TYPE OF HEARING                                   DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                    Defendant's Rights                       Charging Document:
       mute             nolo contendre                                                           Read          Reading Waived
                                                    Waiver of Indictment
       not guilty       guilty                                                               Guilty Plea to Count(s)
                                                    Other:
✔   Final Pretrial Conference                                                                of the
    Detention        (waived     )
                                                                                             Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                           Court to Issue:

    Bond Violation                                  Order of Detention                           Presentence Report Ordered
    Change of Plea                                  Notice of Sentencing                         Presentence Report Waived
                                                    Order Appointing Counsel                     Plea Accepted by the Court
    Sentencing
                                                ✔   Other:
    Trial                                                                                        Plea Taken under Advisement
                                                Order
    Other:                                                                                       No Written Plea Agreement

                                                                SENTENCING

Imprisonment:                                                          Plea Agreement Accepted:         Yes     No

Probation:                                                             Defendant informed of right to appeal:        Yes    No
Supervised Release:                                                    Counsel informed of obligation to file appeal:      Yes     No

Fine: $                                                                Conviction Information:
Restitution: $                                                             Date:
                                                                           By:
Special Assessment: $
                                                                           As to Count (s):

ADDITIONAL INFORMATION:
Motions in limine (36, 39, 72) granted.




                    CUSTODY/RELEASE STATUS                                                 BOND AMOUNT AND TYPE

Continued on Bond                                                          $

CASE TO BE:                                                            TYPE OF HEARING:

Reporter/Recorder:         Glenda Trexler                                  Case Manager:      S. Bourque
